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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

   

WESTERN DIVISION
UNITES STATES oF AMERICA, "ii"“ ‘* ‘JJ 13
Plainn'ff,
v. Cr. No. 04-20335-13
JEREMY nowDY,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SUPPRESSION HEARING

 

For good cause shown, the Court hereby GRANTS defendant’s motion to continue the

suppression hearing, currently Set for Thursday, June 2, 2005 until mg¢fll;§d%\d

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lt is 50 oRDERED, this the 2_ § day OfMay, 2005.

 

No BLE J. DANIEL BREEN
ITE sTATEs DISTRICT COURT JUDGE

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This notice confirms a copy of the document docketed as number 45 in
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Katrina U. Earley

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Honorable J. Breen
US DISTRICT COURT

